               Case 3:19-cv-05945-JHC Document 26 Filed 05/08/23 Page 1 of 2




 1                                                                             The Honorable John H. Chun

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 7                             UNITED STATES DISTRICT COURT FOR THE
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT TACOMA

 9 UNITED STATES OF AMERICA and STATE                       CASE NO. 3:19-cv-05945-JHC
   OF WASHINGTON, ex rel. DENA R.
10 WALKER, and DENA R. WALKER,                              ORDER
   Individually,
11
                           Plaintiffs,
12
                   v.
13
   UNITED WOUND HEALING P.S.,
14
                           Defendant.
15

16          The United States and the State of Washington, pursuant to the False Claims Act, 31 U.S.C.

17 §§ 3730(b)(2) and (4), and the Washington State Medicaid Fraud False Claims Act, Wash. Rev.

18 Code §§ 74.66.050(2)-(4), having intervened in part for the purpose of settlement in this action, and

19 having requested that the Court lift the seal in this case; it is hereby:

20          ORDERED that the seal shall be lifted on all matters in this action; and it is further

21          ORDERED that the Clerk of the Court shall provide an executed copy of this Order to

22 counsel for the Government and counsel for the Relator.

23 //


      ORDER - 1                                                                 UNITED STATES ATTORNEY
      (3:19-cv-05945-JHC)                                                      700 STEWART STREET, SUITE 5220
      FILED UNDER SEAL                                                           SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
             Case 3:19-cv-05945-JHC Document 26 Filed 05/08/23 Page 2 of 2




 1                 DATED this 8th day of May, 2023.

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 3

 4                                               JOHN H. CHUN
                                                 United States District Judge
 5

 6

 7 Presented By:

 8
   s/ Ashley C. Burns
 9 ASHLEY C. BURNS, NY #5186382
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14 s/ Carrie L. Bashaw
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   Office of the Attorney General of Washington State
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17 Olympia, Washington 98504-0124
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18 Email: carrie.bashaw@atg.wa.gov

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     ORDER - 2                                                          UNITED STATES ATTORNEY
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